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                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Charlottesville Division



     ELIZABETH SINES, SETH WISPELWEY,
     MARISSA BLAIR, APRIL MUNIZ, MARCUS
     MARTIN, NATALIE ROMERO, CHELSEA
     ALVARADO, JOHN DOE, and THOMAS
     BAKER,

                                   Plaintiffs,           Civil Action No. 3:17-cv-00072-NKM

      v.

      JASON KESSLER, et al.,

                                   Defendants.



                        [PROPOSED] INTEGRATED PRETRIAL ORDER

           Come now the Plaintiffs, along with Defendants Jason Kessler, Nathan Damigo, Identity

 Evropa, Michael Hill, Michael Tubbs, and League of the South, pursuant to the Court’s Amended

 Pretrial Order (ECF No. 991), and jointly submit this Integrated Pretrial Order.1

 I.        CONTESTED ISSUES OF LAW THAT REQUIRE A RULING BEFORE TRIAL.

           A.     Jury Instructions.

           The parties have submitted differing jury instructions. See ECF Nos. 1200, 1201, 1209,

 1222, 1224. Plaintiffs also request the Court give the preliminary jury instructions identified in

 Plaintiffs’ proposed jury instructions. See ECF No. 1224, pp. 3-23.




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  Defendants James Fields, Matthew Heimbach, Matthew Parrott, Traditionalist Worker Party,
 and Richard Spencer have submitted the statements noted below. Plaintiffs did not receive a
 response from Defendants National Socialist Movement, Nationalist Front, Jeff Schoep, Robert
 Ray, Vanguard America, Elliott Kline, or Christopher Cantwell with respect to this filing.
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        B.     Motions by Plaintiffs.

        1.     Whether the Court should impose sanctions against Defendant Matthew Heimbach.

 ECF Nos. 457; 463; 469; 475; 527; 528; 529; 645; 649; 679; 1006; 1054; 1079; 1083; 1087.

        2.     Whether the Court should deem authentic certain photographs and videos depicting

 Defendant Robert “Azzmador” Ray. ECF No. 1149.

        3.     Whether the Court should exclude several of Defendant Christopher Cantwell’s

 trial witnesses not previously disclosed in discovery. ECF No. 1152.

        4.     Whether the Court should de-designate certain documents designated as

 Confidential or Highly Confidential. ECF No. 1215

        5.     Whether the Court should dismiss Count IV of the Second Amended Complaint.

 ECF No. 1238.

        6.     Whether the Court should preclude the testimony of Daryl Davis and evidence

 about Defendant Jeffrey Schoep’s alleged de-radicalization. ECF No. 1242.

        7.     Whether the Court should preclude argumentative file names and allow parties to

 exceed the file size limitation of 50MB. ECF No. 1243.

        8.     Whether the Court should modify the order regarding Plaintiffs’ motion for

 sanctions against Defendant James Fields. (Forthcoming)

        C.     Motions by Defendants Hill, Tubb, and League of the South.

        9.     Whether the Court should admit or preclude evidence of Defendant Michael

 Tubbs’s conviction. ECF Nos. 1147; 1213; 1214.

        10.    Whether the Court should take judicial notice of Defendant Jason Kessler’s permit

 and associated facts. ECF Nos. 1147; 1213; 1214.




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         D.     Motions by Defendants Heimbach, Parrott, and Traditionalist Worker Party.

         11.    Whether the Court should issue a protective order restricting extrajudicial

 statements by parties, their counsel, and any organization funding this litigation. ECF No. 1114;

 1211.

         E.     Motions by Defendant Cantwell.

         12.    Whether to sustain or overrule Defendant Cantwell’s objections to Plaintiffs’

 witness list. ECF No. 1097; 1185.

         13.    Whether the Court should determine that animus against Antifa and other members

 of the progressive left is not a form of “class based invidiously discriminatory animus” prohibited

 by 42 U.S.C. § 1985(3). ECF Nos. 1066; 1108; 1134; 1185.

         14.    Whether the Court should bar Plaintiffs from introducing evidence about the

 Holocaust as irrelevant and inflammatory. ECF Nos. 1157; 1199.

         15.    Whether the Court should extend pretrial and trial schedules by twelve months and

 reopen discovery. ECF Nos. 1162; 1196; 1110; 1113.

         16.    Whether the Court should permit Defendant Cantwell court clothes and bar

 evidence, testimony, or argument about his current incarceration. ECF Nos. 1124; 1161; 1193.

         17.    Whether the Court should exclude expert testimony that is undisclosed or derived

 from undisclosed and hearsay material. ECF Nos. 1160; 1199.

         18.    Whether the Court should limit the testimony of Plaintiffs’ experts, Peter Simi and

 Kathleen Blee, and whether the Court should bar argument regarding Defendants’ animus towards

 certain groups as irrelevant and intended to confuse and mislead the jury. ECF Nos. 1158; 1199.

         19.    Whether the Court should allow Defendant Cantwell to introduce statements

 against interest of unavailable witness, Emily Gorcenski. ECF Nos. 1132; 1217.



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        20.     Whether the Court should determine that there is no private right of action for

 conspiracy to violate a Virginia state statute and therefore bar Plaintiffs from making this

 argument, and whether Plaintiffs have pled a valid claim for conspiracy to commit false

 imprisonment. ECF Nos. 1123; 1192

        21.     Whether the Court should allow Defendant Cantwell to introduce statements

 against interest of unavailable witness Dwayne Dixon. ECF Nos. 1119; 1212.

        22.     Whether the Court should exclude deposition testimony of Robert Isaacs “Baker,”

 Bradley Griffin, Dillon “Hopper” Izarry, and Thomas Rosseau. ECF Nos. 1102; 1103; 1150; 1108;

 1134; 1185.

        23.     Whether the Court should sanction Plaintiffs for failing to serve Defendant

 Christopher Cantwell with filings, failing to timely disclose the “Discord Production,” and whether

 the Court should sanction Plaintiff Thomas Baker for failure to make initial disclosures. ECF Nos.

 1096; 1098; 1099; 1108; 1134; 1185.

        24.     Whether the Court should exclude all evidence of Defendants’ perceived biases

 against those who identify as “Jews.” ECF Nos. 1088, 1108; 1134; 1185.

        25.     Whether the Court should determine that bias against those who identify as “Jews”

 is not a form of “class based invidiously discriminatory animus” prohibited by 42 U.S.C. §

 1985(3). ECF Nos. 1085; 1108; 1134; 1185

        26.     Whether the Court should compel co-Defendants to provide Defendant Christopher

 Cantwell with their Rule 26(a) disclosures, whether the court should compel Plaintiffs to disclose

 the transcript of the deposition of Defendant Christopher Cantwell, and whether the court should

 compel Plaintiffs to provide paper copies of all filings and discovery previously provided in

 electronic format. ECF Nos. 1084, 1108; 1134; 1185



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        27.     Whether the Court should determine that simple assault, simple battery, and other

 any other act incapable of causing bodily harm but involving the use of force is not a “badge or

 incident of slavery” proscribed by the Thirteenth Amendment to the United States Constitution.

 ECF Nos. 1077; 1108; 1134; 1185.

        28.     Whether the Court should grant Defendant Christopher Cantwell’s motion for leave

 to file instanter. ECF Nos. 1062; 1108; 1134; 1185.

        29.     Whether the Court should make a determination that Plaintiffs claim arose ex turpi

 causa and thus are barred in pari delicto. ECF Nos. 1090; 1108; 1134; 1185

        30.     Whether the Court should grant Defendant Christopher Cantwell’s motion for leave

 to supplement his exhibit list and disclose transcript of August 11, 2017 leadership meeting. ECF

 Nos. 1126; 1187.

        31.     Whether the Court should sustain Defendant Christopher Cantwell’s objections to

 the facts to be taken as established against Defendant Robert “Azzmador” Ray as outlined in

 Magistrate Judge Hoppe’s Opinion and Order regarding Evidentiary Sanctions Against Robert

 “Azzmador” Ray. ECF Nos. 1028, 1106, 1120.

 II.    ESSENTIAL ELEMENTS A PARTY MUST PROVE TO ESTABLISH ANY
        CLAIMS AND RELIEF SOUGHT.

 Plaintiffs’ Statement.

        The elements of Plaintiffs’ claims are as follows:

        Count I: Violation of 42 U.S.C. § 1985(3). All Plaintiffs assert a claim for violations of

 42 U.S.C. § 1985(3) against all Defendants; except that Plaintiff Baker asserts this claim only

 against Defendants Kessler, Spencer, Cantwell, Fields, Vanguard America, Ray, Damigo, Kline,

 Identity Evropa, Heimbach, Parrott, Traditionalist Worker Party, Hill, Tubbs, League of the South,

 Schoep, National Socialist Movement, and Nationalist Front. To prove their claim, Plaintiffs must


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 prove: (1) Defendants conspired with one or more persons; (2) the persons involved in that

 conspiracy were motivated, in whole or part, by animus against Black or Jewish individuals, or

 motivated, in whole or part, because Plaintiffs were advocates or supporters of Black and Jewish

 individuals; (3) the purpose of the conspiracy was to engage in racially motivated violence; (4) at

 least one person involved in the conspiracy took an overt act in furtherance of the conspiracy; and

 (5) as a result of the conspiracy, Plaintiffs were injured.

        Count II: Violation of 42 U.S.C. § 1986. All Plaintiffs assert a claim for violations of 42

 U.S.C. § 1986 against all Defendants; except that Plaintiff Baker asserts this claim only against

 Defendants Kessler, Spencer, Cantwell, Fields, Vanguard America, Ray, Damigo, Kline, Identity

 Evropa, Heimbach, Parrott, Traditionalist Worker Party, Hill, Tubbs, League of the South, Schoep,

 National Socialist Movement, and Nationalist Front. To prove their claim, Plaintiffs must prove:

 (1) the existence of a Section 1985(3) conspiracy; (2) that the Defendant knew about the wrongs

 conspired to be done in the Section 1985(3) conspiracy, even if he was not involved with the

 conspiracy; (3) that the Defendant had the power to prevent or aid in preventing the wrongs

 committed as part of such conspiracy; and (4) that the Defendant either neglected or refused to

 prevent such wrongs.

        Count III: Civil Conspiracy. All Plaintiffs assert a claim for civil conspiracy against all

 Defendants; except that Plaintiff Baker asserts this claim only against Defendants Kessler,

 Spencer, Cantwell, Fields, Vanguard America, Ray, Damigo, Kline, Identity Evropa, Heimbach,

 Parrott, Traditionalist Worker Party, Hill, Tubbs, League of the South, Schoep, National Socialist

 Movement, and Nationalist Front.        To prove their claim, Plaintiffs must prove Defendants

 conspired with one or more persons to commit one or more of the following unlawful acts: (1)

 subjecting persons to acts of intimidation or harassment, motivated by racial, religious, or ethnic



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 animosity in violation of Virginia Code § 8.01-42.1; (2) directing violence at another person,

 motivated by racial, religious, or ethnic animosity in violation of Virginia Code § 8.01-42.1; (3)

 directing vandalism at a person’s real or personal property, motivated by racial, religious, or ethnic

 animosity in violation of Virginia Code § 8.01-42.1; (4) committing an unwanted touching that

 was neither consented to, excused, or justified (battery); (5) engaging in an overt act intended to

 inflict bodily harm, or intended to place the victim in fear or apprehension of bodily harm (assault);

 or (6) causing a reasonable apprehension that force will be used unless a person willingly submits

 and causing him to submit to the extent that he is denied freedom of action (false imprisonment).

        Count IV: Negligence per se. Plaintiffs filed a motion to voluntarily dismiss Count IV.

 See ECF No. 1238.

        Count V: Violation of Va. Code § 8.01-42.1. Plaintiffs Wispelwey, Muñiz, Willis, Sines,

 Blair, Martin, and Romero bring a claim against Defendants Fields, Kline, Spencer, Kessler, Ray,

 Cantwell, and Invictus under Virginia Code § 8.01-42.1. Plaintiff Alvarado brings the same claim

 against the same Defendants, other than Defendant Fields. To prove their claim, Plaintiffs must

 prove: (1) Defendants subjected them to acts of intimidation and/or harassment, violence directed

 at their persons, and/or vandalism directed against their property; and (2) Defendants’ actions were

 motivated by racial, religious, or ethnic animosity.

        Count VI: Assault and Battery. Plaintiffs Muñiz, Sines, Blair, Martin, Baker, and

 Romero bring a claim for assault and battery under Virginia state law against Defendant Fields.

 To prove their claim, Plaintiffs must prove: (1) Defendant Fields engaged in an act intended to

 inflict bodily harm on Plaintiffs; (2) as a result of Defendant Fields’s actions, Plaintiffs experienced

 apprehension of harmful and/or offensive bodily contact or experienced such contact; and (3) any

 bodily contact that Plaintiffs experienced was not consented to, justified, or excused.



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        Count VII: Intentional Infliction of Emotional Distress. Plaintiffs Muñiz, Sines, Blair,

 Martin, Baker, and Romero bring a claim for intentional infliction of emotional distress against

 Defendant Fields. To prove their claim, Plaintiffs must prove: (1) Defendant Fields had the

 specific purpose of inflicting emotional distress upon the plaintiff; intended specific conduct and

 knew, or should have known that his conduct would likely result in emotional distress; (2)

 Defendant Fields’s conduct was outrageous or intolerable in that it offends generally accepted

 standards of decency and morality; (3) that the Plaintiffs suffered emotional distress so severe that

 no reasonable person could be expected to endure it; and (4) that the Plaintiffs’ emotional distress

 was proximately caused by the defendant’s conduct.

        Damages and Other Relief. To recover compensatory damages, Plaintiffs must prove

 their compensatory damages were caused by Defendants, and sufficient facts and circumstances

 to make a reasonable estimate of those damages. To recover punitive damages, Plaintiffs must

 prove the acts or omissions of a Defendant were done maliciously or wantonly. Plaintiffs also

 seek a declaratory judgment and injunctive relief.



 Statement of Defendants Jason Kessler, Nathan Damigo, and Identity Evropa.

        Defendants absolutely and without exception deny any legal responsibility for the injuries

 claimed by the Plaintiffs.

        Defendants deny there was any legally wrongful conspiracy of any kind.

        Defendants deny there was any individual wrongful conduct of any kind.

        Identity Evropa denies it authorized or commanded any wrongful conduct of any kind by

 any of its members either explicitly, implicitly, apparently, or by ratification.




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 Statement of Defendants Michael Hill, Michael Tubbs, and League of the South.

        Defendants absolutely and without exception deny any legal responsibility for the injuries

 claimed by the Plaintiffs.

        Defendants deny there was any legally wrongful conspiracy of any kind.

        Defendants deny there was any individual wrongful conduct of any kind.

        League of the South denies it authorized or commanded any wrongful conduct of any kind

 by any of its members either explicitly, implicitly, apparently, or by ratification.



 Statement of Defendants Matthew Heimbach, Matthew Parrott, and Traditionalist Worker Party.

        Defendants absolutely and without exception deny any legal responsibility for the injuries

 claimed by Plaintiffs.

        Defendants deny that they participated in any wrongful conspiracy of any kind.

        Defendants deny there was any individual wrongful conduct of any kind.

        Traditionalist Worker Party denies it authorized or commanded any wrongful conduct of

 any kind by any of its members either explicitly, implicitly, apparently, or by ratification.



 Statement of Defendant Richard Spencer.

        Mr. Spencer absolutely and without exception denies any legal responsibility for the

 injuries claimed by the Plaintiffs.

        Mr. Spencer denies there was any legally wrongful conspiracy of any kind.

        Mr. Spencer dies there was any individual wrongful conduct of any kind.




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 C.        ESSENTIAL ELEMENTS A PARTY MUST PROVE TO ESTABLISH ANY
           DEFENSES.

 Plaintiffs’ Statement.

           The following affirmative defenses are at issue:

           Self Defense. Nathan Damigo, Identity Evropa, Jason Kessler, Matthew Parrott, and

 Traditionalist Worker Party asserted self-defense as an affirmative defense. To prove self-

 defense, Defendants bear the burden of proving by a preponderance of evidence that: (1) a

 Plaintiff, unprovoked, threatened the Defendant with assault or battery such that the Defendant

 reasonably believed that the Plaintiff was going to inflict bodily injury on him; (2) the

 Defendant, in order to avoid bodily injury, used force; (3) the amount of force the Defendant

 used was no greater than the amount he believed was necessary to prevent bodily injury; and (4)

 the amount of force the Defendant used was no greater than the amount or means a reasonable

 person would have used in like circumstances in order to prevent bodily injury.

 D.        THE MATERIAL FACTS AND THEORIES OF LIABILITY AND DEFENSE.

 Plaintiffs’ Statement.

           The following is a summary of the primary material facts and theories that, while not

 exhaustive, encompass the primary facts that Plaintiffs intend to prove against each Defendant:

           Jason Kessler. Jason Kessler believes the United States should be reserved exclusively

 for white people, and openly calls for African Americans, Jews, and members of other racial,

 ethnic, and religious minorities—including their supporters—to be expelled from the United

 States.

           Kessler was active in the Alt-Right movement and attended multiple rallies, including a

 “Charlottesville 1.0” rally in May 2017. After meeting several prominent white nationalist and

 neo-Nazi leaders at these events, Kessler organized the Unite the Right rally (“Unite the Right”),


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 in Charlottesville, Virginia on August 11-12, 2017 with co-Defendants. Defendants’ shared

 objective for Unite the Right was to engage in and incite violence against racial and religious

 minorities, and their supporters.

        While Kessler claimed Unite the Right was about the removal of a Robert E. Lee statute,

 his true intention was to take the violence that occurred at other Alt-Right rallies and bring it to

 Charlottesville. He used social media (including Discord, Twitter, and Facebook) to promote and

 organize Unite the Right and attract attendees who he knew would be willing to commit violence

 to further his goal, and he encouraged white supremacists and neo-Nazis to join Unite the Right

 and bring objects like flag poles that could be used as weapons.

        On August 11, 2017, Kessler, along with his co-Defendants, led a column of torch-wielding

 white nationalists and neo-Nazis through the University of Virginia campus to the statue of

 Thomas Jefferson in front of the campus Rotunda. Once there, he and other Defendants unleashed

 hundreds of their followers on a small group of counter-protesters who had assembled to

 peacefully counter-protest the white supremacists. The attack resulted in multiple injuries to the

 counter-protesters, many of whom were hit with fists, pepper spray, and lit torches.

        Thrilled by this initial confrontation, Kessler attended Unite the Right on August 12 and

 helped organize the assembly of protesters in downtown Charlottesville. The violence on that day

 unfolded exactly as he and his co-Defendants had planned. After Unite the Right, Kessler ratified

 the violence, including James Fields’s car attack that killed one women and injured dozens of

 others, including several Plaintiffs.

        Vanguard America. Vanguard America (“Vanguard”) is a fascist, white nationalist

 organization, formed to combat the alleged influence of a “rootless group of international Jews”




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 and their “liberal Shabbos goyim.” Members of Vanguard believe the United States is reserved

 only for white persons.

        In 2017, Vanguard participated in the planning and promotion of Unite the Right, both

 among themselves and with other co-Defendants, for example, by coordinating logistics, planning

 speeches, and arranging for transportation. Much of Vanguard’s planning was done using an

 online messaging service, Discord, which Vanguard specifically instructed its members to use

 anonymously. Vanguard openly discussed and advocated violence at Unite the Right, and expected

 violence to occur.

        Vanguard planned and attended a torchlit march on August 11, 2017, in which many of the

 Defendants marched through the University of Virginia campus carrying torches. Vanguard also

 planned and participated in Unite the Right on August 12, 2017, and met with other Defendants to

 coordinate their march into Lee Park. Vanguard engaged in violence at Unite the Right, carrying

 weapons, chanting racist and anti-Semitic slogans such as “Jews will not replace us” and “Blood

 and Soil.” That day, one of Vanguard’s co-conspirators, Defendant James Fields, who shared the

 ideals and goals of Vanguard and marched and chanted with them earlier in the day, advanced the

 objectives of the conspiracy by driving his vehicle into a crowd of peaceful counter protesters,

 killing Heather Heyer and grievously injuring multiple Plaintiffs.

        Following Unite the Right, Vanguard’s members openly celebrated the day’s violence,

 attended an after-party, and cheered and defended Fields’s attack on innocent counter-protesters.

        James Fields. James Fields believes that white people are superior to other races and

 peoples, and supports the social and racial policies of Adolf Hitler and Nazi-era Germany,

 including the Holocaust. He has espoused violence against African Americans, Jewish people,




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 and members of other racial, ethnic, and religious groups he perceived to be non-white—including

 their supporters—making clear that they are enemies against whom violence should be brought.

         Prior to August 11, 2017, Fields engaged in, advocated, and incited hatred and violent

 action against religious and racial minorities and their supporters; coordinated and communicated

 with others, including initial organizers of Unite the Right, for the purpose of coordinating and

 promoting the event; and, along with his co-Defendants, Fields planned violence and expected

 violence to occur at Unite the Right.

         On August 11, Fields left Ohio, driving a Dodge Challenger, and arrived in Charlottesville

 in the early morning of August 12, 2017. During the day on August 12, Fields attended Unite the

 Right, and joined Vanguard (wearing the Vanguard uniform and carrying a Vanguard shield) and

 other Defendants and groups espousing and chanting white supremacist and anti-Semitic and racist

 views, slogans, and insults designed to intimidate peaceful counter-protesters.

         That afternoon, Fields returned to his Dodge Challenger, and drove slowly down Fourth

 Street toward a racially and ethnically diverse crowd that had gathered peacefully at the

 intersection of Fourth and Water Streets. Fields stopped and observed the crowd while idling his

 vehicle. Then Fields slowly reversed his vehicle back up Fourth Street near the intersection of

 Fourth and Market Streets.     As the crowd began walking up Fourth Street, Fields rapidly

 accelerated down Fourth Street and drove directly into the crowd, killing Heather Heyer and

 injuring many others, including Plaintiffs. He was later arrested and pled guilty to one count of

 committing a hate crime resulting in death and 28 counts of committing a hate crime involving an

 attempt to kill.

         League of the South, Michael Hill, and Michael Tubbs. Michael Hill is a self-declared

 white supremacist, racist, anti-Semite, homophobe, xenophobe, and Islamophobe. He is also the



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 founder, president, and leader of the League of the South (“LOS”), a white nationalist organization

 and hate group with a mission of ensuring the survival of the white race against Jewish and Black

 people. Defendant Michael Tubbs is second in command and Chief of Staff of LOS, and President

 of the Florida chapter, and shares the same views as Hill and LOS.

         Hill, Tubbs, and LOS (the “LOS Defendants”) coordinated with their co-Defendants to

 plan, promote, and organize Unite the Right; engaged in, advocated, and incited violent action

 against religious and racial minorities; and formed the Nationalist Front with Defendants National

 Socialist Movement (“NSM”), Parrott, Traditionalist Workers Party (“TWP”), and Vanguard. As

 late as August 11, they participated in a planning meeting with other Defendants to finalize plans

 for their arrival, marching formations, and departure from Unite the Right.

         On the evening of August 11, LOS attended the torch march at the University of Virginia

 carrying kerosene torches, chanting racially-charged slogans like “Jews will not replace us” and

 assaulting counter-protestors. Hill and LOS described it as “very impressive,” “successful” and

 “good optics.”

         On August 12, the LOS Defendants met with the other white supremacist groups, including

 NSM, TWP, and Vanguard to march on Lee Park, declaring “We are going to take that park.”

 Once in Charlottesville, the LOS Defendants repeatedly led groups of white supremacists to attack

 peaceful counter-protestors, including a group that was shielding clergy members; and engaged in

 a brutal attack of DeAndre Harris, a black counter-protester, beating him with a club and leaving

 him with severe cranial trauma, a spinal injury, and a broken arm.

         After Unite the Right, co-Defendants praised the actions of the LOS Defendants, who

 described August 12 as a “great day” and lauded the “warriors” who “acquitted themselves as

 men.”



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        Richard Spencer. Richard Spencer has publicly stated that his goal is the establishment

 of a white ethnostate in North America.

        Spencer coordinated with his co-Defendants to plan, promote, and organize Unite the

 Right; and engaged in, advocated, and incited violent action against religious and racial minorities.

 Along with Defendant Kessler, Spencer was one of the organizers of Unite the Right. He

 participated in a torchlit march on August 11 at his alma mater, the University of Virginia, planning

 it so that he and his co-conspirators would march through campus and carry torches symbolic of

 hate, so as to intimidate racial and religious minorities. After the torchlit march, Spencer gave a

 speech to the crowd celebrating the violence that occurred and stating “we own these streets, we

 own these streets. We occupy this ground. We won.” He also actively promoted the August 12

 event on social media and attended as one of the planned speakers.

        Christopher Cantwell. Christopher Cantwell is a white nationalist who hosts a call-in

 talk show, “Radical Agenda.” He argues for the creation of a white ethnostate that excludes Black

 and Jewish people and non-white immigrants. He advocates violence on his radio show.

        Cantwell coordinated with his co-Defendants to plan Unite the Right, and actively

 promoted it on his radio show. And, in preparation for Unite the Right, Cantwell planned a meeting

 on August 11 with his Radical Agenda listeners and some of his other co-Defendants. Cantwell

 also brought several weapons with him, including five guns, when he travelled to Charlottesville

 for Unite the Right.

        During the torchlit march on August 11, Cantwell pepper sprayed counter-protestors, and

 was subsequently arrested and convicted for use of pepper spray and tear gas on counter-protestors.

 Cantwell celebrated and ratified the violence that occurred at Unite the Right in a number of

 respects.



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        Robert Azzmador Ray. Robert “Azzmador” Ray is a writer and podcast host for The

 Daily Stormer, the leading website of the alt-right. He is a self-proclaimed Nazi and white

 supremacist. Ray participated in organizing the events of August 11 and 12, including through

 coordinating with Vanguard America. He was a scheduled speaker and promoted the event to his

 readers and listeners, at one point estimating that over 100 members of his Daily Stormer Book

 Clubs would be in attendance. In the lead-up to Unite the Right, Ray made posts on Discord

 advocating “gassing” or “getting rid of” Jewish people and stated that he intended to make Jewish

 people cry and instill fear in Black people. He told his followers to leave their guns at home so that

 they could get in fights, and advised on what kind of pepper spray was most “devastating.”

        On August 11, Ray attended a “leadership” planning meeting in Charlottesville with certain

 other Defendants. He also attended the torchlight march, where he pepper-sprayed counter-

 protesters. On August 12, he was involved in the violence against counter-protestors, initiated

 chants of “Jews will not replace us,” bragged on camera about “gassing” Jewish people, and

 appeared in a Vice News documentary espousing racist views. On the evening of August 12, after

 the car attack, Ray delivered a “victory” speech from the Daily Stormer’s founder at an after party.

        The Court has already found facts deemed established against Ray, including that he

 entered into an agreement with one or more co-conspirators to engage in racially-motivated

 violence in Charlottesville, Virginia on August 11 and 12, 2017; that he was motivated by animus

 against racial minorities, Jewish people, and their supporters when conspiring to engage in acts of

 intimidation and violence on August 11 and 12, 2017 in Charlottesville, Virginia; and that it was

 reasonably foreseeable to and intended by him that coconspirators would commit acts of racially-

 motivated violence and intimidation at the torchlight event and at the Unite the Right event in

 Charlottesville, Virginia on August 11 and 12, 2017.



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        Identity Evropa, Nathan Damigo, and Elliot Kline a/k/a Eli Mosley. Nathan Damigo

 is the founder of white supremacist organization, Identity Evropa, which focuses on recruiting

 college-aged white men to promote “white interests” and popularized the slogan “You will not

 replace us” that Defendants and co-conspirators chanted as they marched on August 11 and 12.

 Elliot Kline a/k/a Eli Mosley is a white supremacist and was the leader of Identity Evropa from

 August to November 2017.

        Damigo, Kline, and Identity Evropa planned Unite the Right in coordination with their co-

 Defendants and others. Damigo and Kline held weekly calls with Kessler and Spencer to plan

 Unite the Right. Kline, who called himself the “judenjager” (or Jew hunter), was one of the

 primary organizers of Unite the Right and told everyone that planning the event was his “full time

 job.” He authored the “General Orders” document instructing participants about the weekend’s

 plans. Kline predicted that there would be “some serious brawls at cville” and that “we’ll see

 blood on some of these white polos.”

        The Court has already found facts deemed established against Kline, including that he

 entered into an agreement with one or more co-conspirators to engage in racially-motivated

 violence in Charlottesville, Virginia on August 11 and 12, 2017; that he was motivated by animus

 against racial minorities, Jewish people, and their supporters when conspiring to engage in acts of

 intimidation and violence on August 11 and 12, 2017 in Charlottesville, Virginia; and that it was

 reasonably foreseeable to and intended by him that coconspirators would commit acts of racially-

 motivated violence and intimidation at the torchlight event and at the Unite the Right event in

 Charlottesville, Virginia on August 11 and 12, 2017.

        Traditionalist Worker Party, Matthew Heimbach, and Matthew Parrott. Matthew

 Heimbach and Matthew Parrott are virulent anti-Semites and racists who are co-founders of the



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 TWP, a national political party committee that models itself after the Nazi party in Germany.

 Heimbach is also co-chair of Defendant Nationalist Front.

        Heimbach, Parrott, and TWP coordinated with their co-Defendants to plan, promote and

 organize Unite the Right; engaged in, advocated, and incited violent action against religious and

 racial minorities; and formed the Nationalist Front with Defendants NSM, TWP, Vanguard, and

 the LOS Defendants. Both before and after Unite the Right, TWP worked to sanitize discussions

 and communications around the event and to reframe violent actions as self-defense. On August

 12, the TWP Defendants led the column with the LOS and NSM Defendants that marched into

 counter-protestors on Heimbach’s call of “Shields up!” A member of TWP described their actions

 as “plowing through a human wall of communists.”

        After Unite the Right, Heimbach and Parrott both publicly stated that they supported and

 sympathized with James Fields, calling him a “prisoner of war,” and stating that he would be a

 “TWP member for life.”

        Nationalist Socialist Movement and Jeff Schoep. Defendant Jeff Schoep was the

 “Commander” of Defendant National Socialist Movement from 1994 to 2018 and co-founder of

 Nationalist Front. National Socialist Movement (“NSM”) exists to promote a “greater America”

 that would deny citizenship to Jews, non-whites and LGBTQ persons, and under Schoep’s

 leadership, used Nazi symbolism including the swastika.

        Schoep and NSM formed the Nationalist Front with Defendants LOS, Parrott, TWP,

 Vanguard, and Heimbach, and worked with other Nationalist Front members on street activism,

 rallies, and protests, several of which resulted in violence. Schoep and NSM coordinated with

 their co-Defendants to plan, promote and organize Unite the Right, and engaged in, advocated,

 and incited violent action against religious and racial minorities. In particular, Schoep told Kessler



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 that NSM had “men who are battle tested in the streets” to offer, and NSM members were

 instructed bring shields, flagpoles, and flags to Unite the Right, and to dress in all black “battle

 dress uniforms.” On August 12, NSM members including Schoep engaged in physical

 confrontations with counter-protesters, causing injury to many. In the days that followed, Schoep

 celebrated praised Nationalist Front co-Defendants for being “true warriors” and stated that they

 were “finally winning.”

        Andrew Anglin; Moonbase Holdings, LLC; Nationalist Front; Augustus Sol Invictus;

 Fraternal Order of the Alt-Knights; Loyal White Knights of the Ku Klux Klan; East Coast

 Knights of the Ku Klux Clan. The Court has entered default against these Defendants.

 E.     ISSUES OF CONTESTED FACT

 Plaintiffs’ Statement.

        Plaintiffs submit that the issues of contested fact are as follows:

        1.      Whether Defendants conspired to participate in, plan, promote, organize, or carry

 out violence in Charlottesville on August 11-12, 2017, including against Plaintiffs.

        2.      Whether any conspirator took an overt act in furtherance of Defendants’

 conspiracy.

        3.      Whether the acts of any conspirator were reasonably foreseeable.

        4.      Whether Defendants’ conspiracy and acts were motivated by a discriminatory

 animus towards Black or Jewish individuals or their supporters.

        5.      Whether Defendants were aware of the conspiracy, had the power to prevent or aid

 in preventing wrongful acts committed as part of the conspiracy, but failed to do so.

        6.      Whether Defendants subjected Plaintiffs to acts of intimidation, harassment,

 vandalism, or violence, which were motivated by racial, religious, or ethnic animosity.



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         7.      Whether Defendants committed an unwanted touching against Plaintiffs; placed the

 Plaintiffs in fear or apprehension of bodily harm, or reasonable apprehension that force would be

 used unless Plaintiffs willingly submitted; and caused them to submit to the extent they were

 denied freedom of action.

         8.      Whether, by virtue of driving his Dodge Challenger into a crowd on August 12,

 2017, Defendant Fields had the specific purpose of inflicting emotional distress upon Plaintiffs;

 intended specific conduct that he knew, or should have known, would likely result in emotional

 distress; and whether his conduct was outrageous or intolerable in that it offends generally

 accepted standards of decency and morality.

         9.      Whether, by virtue of driving his Dodge Challenger into a crowd on August 12,

 2017, Defendant Fields did commit or conspire to commit an act of violence in Virginia, and

 committed that act with the intent to intimidate the civilian population.

         10.     Whether Defendants conspired with one or more persons to do any of the above.

         11.     Whether Defendants participated in, caused, or approved of actions that caused

 injury to Plaintiffs.

         12.     The cause and extent of the Plaintiffs’ physical, emotional, and monetary harm.



 Statement of Defendants Jason Kessler, Nathan Damigo, and Identity Evropa.

 Issues of Fact and Law

     1. Did Jason Kessler agree with any possible co-conspirator to commit any wrongful act

         whatsoever?

     2. Did Nathan Damigo agree with any possible co-conspirator to commit any wrongful act

         whatsoever?



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    3. Did Identity Evropa agree with any possible co-conspirator to commit any wrongful act

        whatsoever?

    4. Did any member of Identity Evropa agree with any possible co-conspirator to commit any

        wrongful act whatsoever?

    5. If any member of Identity Evropa did so, did Identity Evropa authorize the member's

        wrongful conduct either explicitly, implicitly, or apparently?

    6. Can Jason Kessler, Nathan Damigo, or Identity Evropa be legally liable to any plaintiff

        based on post-event ratification of any wrongful conduct?



 Statement of Defendants Michael Hill, Michael Tubbs, and League of the South.

 Issues of Law and Fact

    1. Did Michael Hill agree with any possible co-conspirator to commit any wrongful act

        whatsoever?

    2. Did Michael Tubbs agree with any possible co-conspirator to commit any wrongful act

        whatsoever?

    3. Did League of the South agree with any possible co-conspirator to commit any wrongful

        act whatsoever?

    4. Did any member of League of the South agree with any possible co-conspirator to commit

        any wrongful act whatsoever?

    5. If any member of League of the South did so, did League of the South authorize the

        member's wrongful conduct either explicitly, implicitly, or apparently?

    6. Can Michael Hill, Michael Tubbs, or League of the South be legally liable to any plaintiff

        based on post-event ratification of any wrongful conduct?



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 Statement of Defendants Matthew Heimbach, Matthew Parrott, and Traditionalist Worker Party.

 Issues of Fact and Law

    1. Did David Matthew Parrott agree with any possible co-conspirator to commit any wrongful

        act whatsoever?

    2. Did Matthew Heimbach agree with any possible co-conspirator to commit any wrongful

        act whatsoever?

    3. Did Traditionalist Worker Party agree with any possible co-conspirator to commit any

        wrongful act whatsoever?

    4. Did any member of Traditionalist Worker Party agree with any possible co-conspirator to

        commit any wrongful act whatsoever?

    5. If any member of Traditionalist Worker Party did so, did Traditionalist Worker Party

        authorize the member's wrongful conduct either explicitly, implicitly, or apparently?

    6. Can Matthew Parrott, Matthew Heimbach, or Traditionalist Worker Party be legally liable

        to any plaintiff based on post-event ratification of any wrongful conduct?



 Witnesses

 David Matthew Parrott

 Matthew Heimbach

 Any party or witness called by any other party

 Rebuttal witnesses



 Expert Witnesses



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 N/A



 Exhibits

 Heaphy Report (selected pages)

 Series of e-mails from David Matthew Parrott to Traditionalist Worker Party members regarding

 expectations of its members who would be attending the rally together

 Brooke Heimbach Affidavit

 Rebuttal exhibits

 (Defendants reserve the right to amend or supplement this list before and/or during trial.)



 Depositions

 Portions of any deposition used by any party in order to present an accurate picture of testimony

 read.

 Any deposition or part thereof taken by any party for use in rebuttal.

 (Defendants reserve the right to amend or supplement this list before and/or during trial.)



 Statement of Defendant Fields.

 Issues of Fact and Law

    1. Did James Fields agree with any alleged co-conspirator to commit any wrongful act?

    2. Did James Fields participate in any planning or organizing for the Unite the Right Rally?



 Exhibit




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 Certified copy of James Fields Amended Judgment in Criminal Case – listed on Exhibit List as

 Fields’ Sentencing Order.



 Depositions

 Portions of any deposition used by any party in order to present an accurate picture of the testimony

 read.

 Any deposition or part thereof taken by any party for use as rebuttal evidence.

 F.      CONTESTED ISSUES OF LAW THAT DO NOT REQUIRE A RULING BEFORE
         TRIAL

         1.     Whether third-party Denise Lunsford is entitled to cost-shifting for compliance

 with Plaintiffs’ subpoena duces tecum and, if so, the amount of costs to which she is entitled.

 See ECF No. 801, 808, 909.

 G.      STIPULATIONS

         Plaintiffs and Defendant Fields have stipulated to certain facts and the authentication of

 certain documents. See ECF No. 983.

         Plaintiffs and Defendants are working together in good faith on additional stipulations

 and will inform the Court promptly once an agreement has been reached.

 H.      OTHER

 Plaintiffs’ Statement.

         Plaintiffs intend to call certain Defendants in their case-in-chief, but understand that not

 all of the Defendants plan to attend trial for its entire duration. To ensure Defendants are

 available to testify on the day they are called as witnesses, Plaintiffs propose the Court

 implement a formal notification process, whereby Plaintiffs provide notice to each Defendant of

 the day(s) Plaintiffs intend to call that Defendant, such notice to be provided at least 24 hours


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 before the Defendant’s anticipated testimony, and the Defendant so notified is required to attend

 trial on that day.



 Statement of Defendants Jason Kessler, Nathan Damigo, and Identity Evropa.

 Mr. Kolenich is unable to be present, in court or via zoom, on November 1, 2021. Plaintiffs agree

 to make a good faith effort not to call witnesses Simi, Blee, Lipstadt, Wispelwey, Sines, or Baker

 on that day. To the extent that plaintiffs are unable to avoid calling one or more of said witnesses

 on November 1, Defense has the right to recall the witness or witnesses for cross examination by

 Mr. Kolenich.



 Certain participants have not been vaccinated against COVID 19 and are therefore required to

 undergo periodic antigen testing. These participants are permitted to participate by zoom if the

 antigen testing is not negative for COVID.



 Statement of Defendant Matthew Heimbach.

 Matthew Heimbach has agreed to testify live (in-person) during Plaintiffs’ case-in-chief. However,

 because Mr. Heimbach is the sole custodian of his children, should Mr. Heimbach choose to testify

 during his case-in-chief – in addition to his testimony during Plaintiffs’ case-in-chief – he will only

 be available to testify via Zoom during his case-in-chief (including any cross-examination therein).

         IT IS SO ORDERED.

         Dated: __________________

                                                __________________________________
                                                Hon. Norman K. Moon



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 Dated: October 18, 2021                   Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on October 18, 2021, I filed the foregoing with the Clerk of Court
 through the CM/ECF system, which will send a notice of electronic filing to:

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  Movement, Nationalist Front, Jeff Schoep,            Damigo, and Identity Europa, Inc. (Identity
                                                       Evropa)
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  Counsel for Matthew Heimbach, Matthew Parrott
  and Traditionalist Worker Party

        I hereby certify that on October 18, 2021, I also served the foregoing upon following pro
 se defendants, via electronic mail, as follows:

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                                                       eli.r.kline@gmail.com




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                                  21112




        I hereby certify that on October 18, 2021, I also served the foregoing upon following pro
 se defendant, via U.S. mail, as follows:

 Christopher Cantwell
 Christopher Cantwell 00991-509
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 and

 Christopher Cantwell
 Christopher Cantwell - Inmate: 00991-509
 Grady County Law Enforcement Center (Oklahoma)
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                                                     /s/ David E. Mills
                                                     David E. Mills (pro hac vice)




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